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        Exhibit A
                                                                                      Case 5:21-cv-00570-BLF Document 17-1 Filed 06/08/21 Page 2 of 5
           Play Console Help                                         Describe your issue


                                                                                                                                                                                                      Play Console


Play Console Help       Policy Center


Policy Center       Updates and Other Resources              Developer Program Policy (effective January 20, 2021)


                                                                                                                                                            Updates and Other Resources

                                                                                                                                                                Updates to Google Play Policies

                            Developer Program Policy (effective January 20,                                                                                     Summaries

                            2021)                                                                                                                               Other Resources



                            Let's build the world's most trusted source for                                                                                     Developer Program Policy (effective
                                                                                                                                                                January 20, 2021)

                            apps and games
                            Your innovation is what drives our shared success, but with it comes responsibility. These Developer Program
                            Policies, along with the Developer Distribution Agreement, ensure that together we continue to deliver the world's
                            most innovative and trusted apps to over a billion people through Google Play. We invite you to explore our policies
                            below.




                            Restricted Content
                            People from all over the world use Google Play to access apps and games every day. Before submitting an app, ask
                            yourself if your app is appropriate for Google Play and compliant with local laws.



                            Child Endangerment
                            Apps that include content that sexualizes minors are subject to immediate removal from the Store. , including but not
                            limited to, apps that promote pedophilia or inappropriate interaction targeted at a minor (e.g. groping or caressing).

                            In addition, apps that appeal to children but contain adult themes are not allowed, including but not limited to, apps
                            with excessive violence, blood, and gore; apps that depict or encourage harmful and dangerous activities. We also
                            don’t allow apps that promote negative body or self image including apps that depict for entertainment purposes
                            plastic surgery, weight loss, and other cosmetic adjustments to a person's physical appearance.

                            If we become aware of content with child sexual abuse imagery, we will report it to the appropriate authorities and
                            delete the Google Accounts of those involved with the distribution.



                            Inappropriate Content
                            To ensure that Google Play remains a safe and respectful platform, we've created standards deQning and prohibiting
                            content that is harmful or inappropriate for our users.


                            Sexual Content and Profanity
                            We don't allow apps that contain or promote sexual content or profanity, including pornography, or any content or
                            services intended to be sexually gratifying. Content that contains nudity may be allowed if the primary purpose is
                            educational, documentary, scientiQc, or artistic, and is not gratuitous.

                            Here are some examples of common violations:

                             • Depictions of sexual nudity, or sexually suggestive poses in which the subject is nude, blurred or minimally clothed,
                                 and/or where the clothing would not be acceptable in an appropriate public context.
                             • Depictions, animations or illustrations of sex acts, sexually suggestive poses or the sexual depiction of body parts.
                             • Content that depicts or are functionally sexual aids, sex guides, illegal sexual themes and fetishes.
                             • Content that is lewd or profane - including but not limited to content which may contain profanity, slurs, explicit
                                 text, adult/sexual keywords in the store listing or in-app.
                             • Content that depicts, describes, or encourages bestiality.
                             • Apps that promote sex-related entertainment, escort services, or other services that may be interpreted as
                                 providing sexual acts in exchange for compensation.
                             • Apps that degrade or objectify people.


                            Hate Speech
                            We don't allow apps that promote violence, or incite hatred against individuals or groups based on race or ethnic
                            origin, religion, disability, age, nationality, veteran status, sexual orientation, gender, gender identity, or any other
                            characteristic that is associated with systemic discrimination or marginalization.

                            Apps which contain EDSA (Educational, Documentary, ScientiQc, or Artistic) content related to Nazis may be blocked
                            in certain countries, in accordance with local laws and regulations.

                            Here are examples of common violations:

                             • Content or speech asserting that a protected group is inhuman, inferior or worthy of being hated.
                             • Apps that contain hateful slurs, stereotypes, or theories about a protected group possessing negative
                                 characteristics (e.g. malicious, corrupt, evil, etc.), or explicitly or implicitly claims the group is a threat.
                             • Content or speech trying to encourage others to believe that people should be hated or discriminated against
                                 because they are a member of a protected group.
                             • Content which promotes hate symbols such as Vags, symbols, insignias, paraphernalia or behaviors associated
                                 with hate groups.


                            Violence
                            We don't allow apps that depict or facilitate gratuitous violence or other dangerous activities. Apps that depict
                            Qctional violence in the context of a game, such as cartoons, hunting or Qshing, are generally allowed.

                            Here are some examples of common violations:

                             • Graphic depictions or descriptions of realistic violence or violent threats to any person or animal.
                             • Apps that promote self harm, suicide, bullying, harassment, eating disorders, choking games or other acts where
                                 serious injury or death may result.


                            Terrorist Content
                            We do not permit terrorist organizations to publish apps on Google Play for any purpose, including recruitment.

                            We don't allow apps with content related to terrorism, such as content that promotes terrorist acts, incites violence,
                            or celebrates terrorist attacks. If posting content related to terrorism for an educational, documentary, scientiQc, or
                            artistic purpose, be mindful to provide enough information so users understand the context.


                            Sensitive Events
                            We don't allow apps that lack reasonable sensitivity towards or capitalize on a natural disaster, atrocity, conVict,
                            death, or other tragic event. Apps with content related to a sensitive event are generally allowed if that content has
                            EDSA (Educational, Documentary, ScientiQc, or Artistic) value or intends to alert users to or raise awareness for the
                            sensitive event.

                            Here are examples of common violations:

                             • Lacking sensitivity regarding the death of a real person or group of people due to suicide, overdose, natural
                                 causes, etc.
                             • Denying a major tragic event.
                             • Appearing to proQt from a tragic event with no discernible beneQt to the victims.


                            Bullying and Harassment
                            We don't allow apps that contain or facilitate threats, harassment, or bullying.

                            Here are examples of common violations:

                             •   Bullying victims of international or religious conVicts.
                             •   Content that seeks to exploit others, including extortion, blackmail, etc.
                             •   Posting content in order to humiliate someone publicly.
                             •   Harassing victims, or their friends and families, of a tragic event.


                            Dangerous Products
                            We don't allow apps that facilitate the sale of explosives, Qrearms, ammunition, or certain Qrearms accessories.

                             • Restricted accessories include those that enable a Qrearm to simulate automatic Qre or convert a Qrearm to
                                 automatic Qre (e.g. bump stocks, gatling triggers, drop-in auto sears, conversion kits), and magazines or belts
                                 carrying more than 30 rounds.

                            We don't allow apps that provide instructions for the manufacture of explosives, Qrearms, ammunition, restricted
                            Qrearm accessories, or other weapons. This includes instructions on how to convert a Qrearm to automatic, or
                            simulated automatic, Qring capabilities.


                            Marijuana
                            We don't allow apps that facilitate the sale of marijuana or marijuana products, regardless of legality.

                            Here are some examples of common violations:

                             • Allowing users to order marijuana through an in-app shopping cart feature.
                             • Assisting users in arranging delivery or pick up of marijuana.
                             • Facilitating the sale of products containing THC (Tetrahydrocannabinol), including products such as CBD oils
                                 containing THC.


                            Tobacco and Alcohol
                            We don't allow apps that facilitate the sale of tobacco (including e-cigarettes and vape pens) or encourage the illegal
                            or inappropriate use of alcohol or tobacco.

                            Here are examples of common violations:

                             • Depicting or encouraging the use or sale of alcohol or tobacco to minors.
                             • Implying that consuming tobacco can improve social, sexual, professional, intellectual, or athletic standing.
                             • Portraying excessive drinking favorably, including the favorable portrayal of excessive, binge or competition
                                 drinking.



                            Financial Services
                            We don't allow apps that expose users to deceptive or harmful Qnancial products and services.

                            For the purposes of this policy, we consider Qnancial products and services to be those related to the management or
                            investment of money and cryptocurrencies, including personalized advice.

                            If your app contains or promotes Qnancial products and services, you must comply with state and local regulations
                            for any region or country that your app targets - for example, include speciQc disclosures required by local law.


                            Binary Options
                            We do not allow apps that provide users with the ability to trade binary options.


                            Cryptocurrencies
                            We don't allow apps that mine cryptocurrency on devices. We permit apps that remotely manage the mining of
                            cryptocurrency.


                            Personal loans
                            We deQne personal loans as lending money from one individual, organization, or entity to an individual consumer on a
                            nonrecurring basis, not for the purpose of Qnancing purchase of a Qxed asset or education. Personal loan consumers
                            require information about the quality, features, fees, repayment schedule, risks, and beneQts of loan products in order
                            to make informed decisions about whether to undertake the loan.

                             • Examples: Personal loans, payday loans, peer-to-peer loans, title loans
                             • Not included: Mortgages, car loans, student loans, revolving lines of credit (such as credit cards, personal lines of
                                 credit)

                            Apps that provide personal loans, including but not limited to apps which offer loans directly, lead generators, and
                            those who connect consumers with third-party lenders, must disclose the following information in the app metadata:

                             • Minimum and maximum period for repayment
                             • Maximum Annual Percentage Rate (APR), which generally includes interest rate plus fees and other costs for a
                                 year, or similar other rate calculated consistently with local law
                             • A representative example of the total cost of the loan, including all applicable fees
                             • A privacy policy that comprehensively discloses the access, collection, use and sharing of personal and sensitive
                                 user data.

                            We do not allow apps that promote personal loans which require repayment in full in 60 days or less from the date
                            the loan is issued (we refer to these as "short-term personal loans").

                            High APR personal loans

                            In the United States, we do not allow apps for personal loans where the Annual Percentage Rate (APR) is 36% or
                            higher. Apps for personal loans in the United States must display their maximum APR, calculated consistently with
                            the Truth in Lending Act (TILA).

                            This policy applies to apps which offer loans directly, lead generators, and those who connect consumers with third-
                            party lenders.

                            Here is an example of common violations:




                            Real-Money Gambling, Games, and Contests
                            We allow real-money gambling apps, ads related to real-money gambling, and daily fantasy sports apps that meet
                            certain requirements.


                            Gambling Apps
                            We only allow content and services that facilitate online gambling in:

                             • the UK, Ireland, and France
                             • Brazil (limited to approved apps published by Caixa Economica Federal)
                            These apps must meet the following requirements:

                             •   Developer must successfully complete the application process             in order to distribute the app on Play;
                             •   App must comply with all applicable laws and industry standards for each country in which it is distributed;
                             •   Developer must have a valid gambling license for each country in which the app is distributed;
                             •   App must prevent under-age users from gambling in the app;
                             •   App must prevent use from countries not covered by the developer-provided gambling license;
                             •   App must NOT be purchasable as a paid app on Google Play, nor use Google Play In-app Billing;
                             •   App must be free to download and install from the Store;
                             •   App must be rated AO (Adult Only) or IARC equivalent; and
                             •   App and its app listing must clearly display information about responsible gambling.

                            For all other locations, we don't allow content or services that facilitate online gambling, including, but not limited to,
                            online casinos, sports betting and lotteries, and games of skill that offer prizes of cash or other real world value.


                            Other Real-Money Games, Contests, and Tournament Apps
                            We don't allow content or services that enable or facilitate users' ability to wager, stake, or participate using real
                            money (including in-app items purchased with money) to obtain a prize of real world monetary value. This includes
                            but is not limited to, online casinos, sports betting, and lotteries that fail to meet the requirements for Gambling apps
                            noted above, and games that offer prizes of cash or other real world value.

                            Here are examples of violations:

                             • Games that accept money in exchange for an opportunity to win a physical or monetary prize
                             • Games with “loyalty” (e.g. engagement or activity) points that (1) are accrued or accelerated via real-money
                                 purchases which (2) can be exchanged for items or prizes of real world monetary value
                             • Apps that accept or manage gambling wagers, in-app currencies required for participation, winnings, or deposits in
                                 order to obtain or accelerate eligibility for a physical or monetary prize.
                             • Apps that provide a “call to action” to wager, stake, or participate in real-money games, contests, or tournaments
                                 using real money, such as apps with navigational elements (menu items, tabs, buttons, etc.) that invite users to
                                 “REGISTER!” or “COMPETE!” in a tournament for a chance to win a cash prize.


                            Ads for Gambling or Real-Money Games, Contests, and Tournaments within
                            Play-distributed Apps
                            We allow apps that advertise gambling or real-money games, context, and tournaments if they meet the following
                            requirements:
                             • App and ad (including advertisers) must comply with all applicable laws and industry standards for any location
                                 where the ad is displayed;
                             •   Ad must meet local licensing requirements for all gambling-related products and services being promoted;
                             •   App must not display a gambling ad to individuals known to be under the age of 18:
                             •   App must not be enrolled in the Designed for Families program;
                             •   App must not target individuals under the age of 18;
                             •   If advertising a Gambling App (as deQned above), ad must clearly display information about responsible gambling
                                 on its landing page, the advertised app listing itself or within the app;
                             • App must not provide simulated gambling content (e.g. social casino apps; apps with virtual slot machines);
                             • App must not provide gambling or real-money games, lotteries or tournament support functionality (e.g.
                                 functionality that assists with wagering, payouts, sports score/odds tracking, or management of
                                 participation funds);
                             • You must not have an ownership interest in gambling or real-money games, lotteries or tournament services
                                 advertised within the app;
                             • App content must not promote or direct users to gambling or real-money games, lotteries or tournament services
                            Only Gambling apps (as deQned above) or apps that meet all of these Gambling Ads requirements may include ads
                            for real-money gambling or real-money games, lotteries or tournaments.

                            Here are some examples of violations:

                             •   An app that’s designed for under-age users and shows an ad promoting gambling services
                             •   A simulated casino game that promotes or directs users to real money casinos
                             •   A dedicated sports odds tracker app containing integrated gambling ads linking to a sports betting site
                             •   A news app that shows ads for a gambling service owned or operated by the app’s developer
                             •   Apps that have gambling ads that violate our Deceptive Ads policy, such as ads that appear to users as buttons,
                                 icons, or other interactive in-app elements


                            Daily Fantasy Sports (DFS) Apps

                            We only allow daily fantasy sports (DFS) apps, as deQned by applicable local law, if they meet the following
                            requirements:

                             • App is either 1) only distributed in the United States or 2) eligible under the Gambling Apps requirements noted
                                 above;
                             • Developer must successfully complete the DFS application process and be accepted in order to distribute the app
                                 on Play;
                             •   App must comply with all applicable laws and industry standards for the countries in which it is distributed;
                             •   App must prevent under-age users from wagering or conducting monetary transactions within the app;
                             •   App must NOT be purchasable as a paid app on Google Play, nor use Google Play In-app Billing;
                             •   App must be free to download and install from the Store;
                             •   App must be rated AO (Adult Only) or IARC equivalent; and
                             •   App and its app listing must clearly display information about responsible gambling.

                            If distributed in the US, the following additional requirements apply;

                             • App must comply with all applicable laws and industry standards for any US state or US territory in which it is
                                 distributed;
                             • Developer must have a valid license for each US state or US territory in which a license is required for daily fantasy
                                 sports apps;
                             • App must prevent use from US States or US territories in which the developer does not hold a license required for
                                 daily fantasy sports apps; and
                             • App must prevent use from US States or US territories where daily fantasy sports apps are not legal.


                            Illegal Activities
                            We don’t allow apps that facilitate or promote illegal activities.

                            Here are some examples of common violations:

                             • Facilitating the sale or purchase of illegal drugs or prescription drugs without a prescription.
                             • Depicting or encouraging the use or sale of drugs, alcohol, or tobacco by minors.
                             • Instructions for growing or manufacturing illegal drugs.


                            User Generated Content
                            User-generated content (UGC) is content that users contribute to an app, and which is visible to or accessible by at
                            least a subset of the app's users.

                            Apps that contain or feature UGC must:

                             • require that users accept the app's terms of use and/or user policy before users can create or upload UGC;
                             • deQne objectionable content and behaviors (in a way that complies with Play’s Developer Program Policies), and
                                 prohibit them in the app’s terms of use or user policies;
                             • implement robust, effective and ongoing UGC moderation, as is reasonable and consistent with the type of UGC
                                 hosted by the app
                                 • In the case of live-streaming apps, objectionable UGC must be removed as close to real-time as reasonably
                                    possible;
                                 • In the case of augmented reality (AR) apps, UGC moderation (including the in-app reporting system) must
                                    account for both objectionable AR UGC (e.g. a sexually explicit AR image) and sensitive AR anchoring location
                                    (e.g. AR content anchored to a restricted area, such as a military base, or a private property where AR anchoring
                                    may cause issues for the property owner);
                             • provide a user-friendly, in-app system for reporting objectionable UGC and take action against that UGC where
                                 appropriate;
                             • remove or block abusive users who violate the app's terms of use and/or user policy;
                             • provide safeguards to prevent in-app monetization from encouraging objectionable user behavior.
                            Apps whose primary purpose is featuring objectionable UGC will be removed from Google Play. Similarly, apps that
                            end up being used primarily for hosting objectionable UGC, or that develop a reputation among users of being a place
                            where such content thrives, will also be removed from Google Play.

                            Here are some examples of common violations:

                             • Promoting sexually explicit user-generated content, including implementing or permitting paid features that
                                 principally encourage the sharing of objectionable content.
                             • Apps with user generated content (UGC) that lack suicient safeguards against threats, harassment, or bullying,
                                 particularly toward minors.
                             • Posts, comments, or photos within an app that are primarily intended to harass or single out another person for
                                 abuse, malicious attack, or ridicule.
                             • Apps that continually fail to address user complaints about objectionable content.


                            Unapproved Substances
                            Google Play doesn't allow apps that promote or sell unapproved substances, irrespective of any claims of legality.
                            Examples:

                             • All items on this non-exhaustive list of prohibited pharmaceuticals and supplements
                             • Products that contain ephedra
                             • Products containing human chorionic gonadotropin (hCG) in relation to weight loss or weight control, or when
                                 promoted in conjunction with anabolic steroids
                             • Herbal and dietary supplements with active pharmaceutical or dangerous ingredients
                             • False or misleading health claims, including claims implying that a product is as effective as prescription drugs or
                                 controlled substances
                             • Non-government approved products that are marketed in a way that implies that they're safe or effective for use in
                                 preventing, curing, or treating a particular disease or ailment
                             • Products that have been subject to any government or regulatory action or warning
                             • Products with names that are confusingly similar to an unapproved pharmaceutical or supplement or controlled
                                 substance

                            For additional information on the unapproved or misleading pharmaceuticals and supplements that we monitor,
                            please visit www.legitscript.com.



                            Intellectual Property
                            When developers copy someone else’s work or use it without required permission, it might harm the owner of that
                            work. Don't rely on unfair use of other people’s work.


                            Intellectual Property
                            We don’t allow apps or developer accounts that infringe on the intellectual property rights of others (including
                            trademark, copyright, patent, trade secret, and other proprietary rights). We also don’t allow apps that encourage or
                            induce infringement of intellectual property rights.

                            We will respond to clear notices of alleged copyright infringement. For more information or to Qle a DMCA request,
                            please visit our copyright procedures.

                            To submit a complaint regarding the sale or promotion for sale of counterfeit goods within an app, please submit a
                            counterfeit notice.

                            If you are a trademark owner and you believe there is an app on Google Play that infringes on your trademark rights,
                            we encourage you to reach out to the developer directly to resolve your concern. If you are unable to reach a
                            resolution with the developer, please submit a trademark complaint through this form.

                            If you have written documentation proving that you have permission to use a third party's intellectual property in your
                            app or store listing (such as brand names, logos and graphic assets), contact the Google Play team in advance of
                            your submission to ensure that your app is not rejected for an intellectual property violation.


                            Unauthorized Use of Copyrighted Content
                            We don’t allow apps that infringe copyright. Modifying copyrighted content may still lead to a violation. Developers
                            may be required to provide evidence of their rights to use copyrighted content.

                            Please be careful when using copyrighted content to demonstrate the functionality of your app. In general, the safest
                            approach is to create something that’s original.

                            Here are some examples of copyrighted content that is often used without authorization or a legally valid reason:

                             •   Cover art for music albums, video games, and books.
                             •   Marketing images from movies, television, or video games.
                             •   Artwork or images from comic books, cartoons, movies, music videos, or television.
                             •   College and professional sports team logos.
                             •   Photos taken from a public Qgure’s social media account.
                             •   Professional images of public Qgures.
                             •   Reproductions or “fan art” indistinguishable from the original work under copyright.
                             •   Apps that have soundboards that play audio clips from copyrighted content.
                             •   Full reproductions or translations of books that are not in the public domain.


                            Encouraging Infringement of Copyright
                            We don’t allow apps that induce or encourage copyright infringement. Before you publish your app, look for ways your
                            app may be encouraging copyright infringement and get legal advice if necessary.

                            Here are some examples of common violations:

                             • Streaming apps that allow users to download a local copy of copyrighted content without authorization.
                             • Apps that encourage users to stream and download copyrighted works, including music and video, in violation of
                                 applicable copyright law:




                            ① The description in this app listing encourages users to download copyrighted content without authorization.
                            ② The screenshot in the app listing encourages users to download copyrighted content without authorization.


                            Trademark Infringement
                            We don’t allow apps that infringe on others’ trademarks. A trademark is a word, symbol, or combination that identiQes
                            the source of a good or service. Once acquired, a trademark gives the owner exclusive rights to the trademark usage
                            with respect to certain goods or services.

                            Trademark infringement is improper or unauthorized use of an identical or similar trademark in a way that is likely to
                            cause confusion as to the source of that product. If your app uses another party’s trademarks in a way that is likely to
                            cause confusion, your app may be suspended.


                            Counterfeit
                            We don't allow apps that sell or promote for sale counterfeit goods. Counterfeit goods contain a trademark or logo
                            that is identical to or substantially indistinguishable from the trademark of another. They mimic the brand features of
                            the product in an attempt to pass themselves off as a genuine product of the brand owner.




                            Privacy, Deception and Device Abuse
                            We’re committed to protecting user privacy and providing a safe and secure environment for our users. Apps that are
                            deceptive, malicious, or intended to abuse or misuse any network, device, or personal data are strictly prohibited.


                            User Data
                            You must be transparent in how you handle user data (e.g., information collected from or about a user, including
                            device information). That means disclosing your app’s access, collection, use, and sharing of the data, and limiting
                            the use of the data to the purposes disclosed. In addition, if your app handles personal or sensitive user data, please
                            also refer to the additional requirements in the "Personal and Sensitive Information" section below. These Google
                            Play requirements are in addition to any requirements prescribed by applicable privacy and data protection laws.


                            Personal and Sensitive Information
                            Personal and sensitive user data includes, but isn't limited to, personally identiQable information, Qnancial and
                            payment information, authentication information, phonebook, contacts, device location, SMS and call - related data,
                            microphone, camera, and other sensitive device or usage data. If your app handles sensitive user data, then you
                            must:

                             • Limit your access, collection, use, and sharing of personal or sensitive data acquired through the app to purposes
                                 directly related to providing and improving the features of the app (e.g., user anticipated functionality that is
                                 documented and promoted in the app's description in the Play Store). Apps that extend usage of this data for
                                 serving advertising must be in compliance with our Ads Policy.
                             • Post a privacy policy in both the designated Qeld in the Play Console and within the app itself. The privacy policy
                                 must, together with any in-app disclosures, comprehensively disclose how your app accesses, collects, uses, and
                                 shares user data. Your privacy policy must disclose the types of personal and sensitive data your app accesses,
                                 collects, uses, and shares and the types of parties with which any personal or sensitive user data is shared.
                             • Handle all personal or sensitive user data securely, including transmitting it using modern cryptography (for
                                 example, over HTTPS).
                             • Use a runtime permissions request whenever available, prior to accessing data gated by Android permissions.
                             • Not sell personal or sensitive user data.

                            Prominent Disclosure and Consent Requirement
                            In cases where users may not reasonably expect that their personal or sensitive user data will be required to provide
                            or improve the policy compliant features or functionality within your app (e.g., data collection occurs in the
                            background of your app), you must meet the following requirements:

                            You must provide an in-app disclosure of your data access, collection, use, and sharing. The in-app disclosure:

                             •   Must be within the app itself, not only in the app description or on a website;
                             •   Must be displayed in the normal usage of the app and not require the user to navigate into a menu or settings;
                             •   Must describe the data being accessed or collected;
                             •   Must explain how the data will be used and/or shared;
                             •   Cannot only be placed in a privacy policy or terms of service; and
                             •   Cannot be included with other disclosures unrelated to personal or sensitive data collection.

                            Your in-app disclosure must accompany and immediately precede a request for user consent and, where available,
                            an associated runtime permission. You may not access or collect any personal or sensitive data until the user
                            consents. The app's request for consent:

                             • Must present the consent dialog clearly and unambiguously;
                             • Must require airmative user action (e.g. tap to accept, tick a check-box);
                             • Must not interpret navigation away from the disclosure (including tapping away or pressing the back or home
                                 button) as consent; and
                             • Must not use auto-dismissing or expiring messages as a means of obtaining user consent.
                            Here are some examples of common violations:

                             • An app that accesses a user's inventory of installed apps and doesn't treat this data as personal or sensitive data
                                 subject to the above Privacy Policy, data handling, and Prominent Disclosure and Consent requirements.
                             • An app that accesses a user's phone or contact book data and doesn't treat this data as personal or sensitive data
                                 subject to the above Privacy Policy, data handling, and Prominent Disclosure and Consent requirements.
                             • An app that records a user’s screen and doesn't treat this data as personal or sensitive data subject to this policy.
                             • An app that collects device location and does not comprehensively disclose its use and obtain consent in
                                 accordance with the above requirements
                             • An app that collects restricted permissions in the background of the app including for tracking, research, or
                                 marketing purposes and does not comprehensively disclose its use and obtain consent in accordance with the
                                 above requirements.



                            SpeciOc Restrictions for Sensitive Data Access

                            In addition to the requirements above, the table below describes requirements for speciQc activities.


                             Activity                                         Requirement


                             Your app handles Qnancial or payment             Your app must never publicly disclose any personal or sensitive user
                             information or government identiQcation          data related to Qnancial or payment activities or any government
                             numbers                                          identiQcation numbers.


                             Your app handles non-public phonebook            We don't allow unauthorized publishing or disclosure of people's non-
                             or contact information                           public contacts.


                             Your app contains anti-virus or security         Your app must post a privacy policy that, together with any in-app
                             functionality, such as anti-virus, anti-         disclosures, explain what user data your app collects and transmits,
                             malware, or security-related features            how it's used, and the type of parties with whom it's shared.



                            EU-U.S. Privacy Shield
                            If you access, use, or process personal information made available by Google that directly or indirectly identiQes an
                            individual and that originated in the European Union or Switzerland (“EU Personal Information”), then you must:

                             • Comply with all applicable privacy, data security, and data protection laws, directives, regulations, and rules;
                             • Access, use or process EU Personal Information only for purposes that are consistent with the consent obtained
                                 from the individual to whom the EU Personal Information relates;
                             • Implement appropriate organizational and technical measures to protect EU Personal Information against loss,
                                 misuse, and unauthorized or unlawful access, disclosure, alteration and destruction; and
                             • Provide the same level of protection as is required by the Privacy Shield Principles            .

                            You must monitor your compliance with these conditions on a regular basis. If, at any time, you cannot meet these
                            conditions (or if there is a signiQcant risk that you will not be able to meet them), you must immediately notify us by
                            email to data-protection-oice@google.com            and immediately either stop processing EU Personal Information or
                            take reasonable and appropriate steps to restore an adequate level of protection.



                            Permissions
                            Permission requests should make sense to users. You may only request permissions that are necessary to
                            implement current features or services in your app that are promoted in your Play Store listing. You may not use
                            permissions that give access to user or device data for undisclosed, unimplemented, or disallowed features or
                            purposes. Personal or sensitive data accessed through permissions may never be sold.

                            Request permissions to access data in context (via incremental auth), so that users understand why your app is
                            requesting the permission. Use the data only for purposes that the user has consented to. If you later wish to use the
                            data for other purposes, you must ask users and make sure they airmatively agree to the additional uses.


                            Restricted Permissions
                            In addition to the above, restricted permissions are permissions that are designated as Dangerous, Special, or
                            Signature, and are subject to the following additional requirements and restrictions:

                             • Sensitive user or device data accessed through Restricted Permissions may only be transferred to third parties if
                                 necessary to provide or improve current features or services in the app from which the data was collected. You
                                 may also transfer data as necessary to comply with applicable law or as part of a merger, acquisition, or sale of
                                 assets with legally adequate notice to users. All other transfers or sales of the user data are prohibited.
                             • Respect users’ decisions if they decline a request for a Restricted Permission, and users may not be manipulated
                                 or forced into consenting to any non-critical permission. You must make a reasonable effort to accommodate
                                 users who do not grant access to sensitive permissions (e.g., allowing a user to manually enter a phone number if
                                 they’ve restricted access to Call Logs).

                            Certain Restricted Permissions may be subject to additional requirements as detailed below. The objective of these
                            restrictions is to safeguard user privacy. We may make limited exceptions to the requirements below in very rare
                            cases where apps provide a highly compelling or critical feature and where there is no alternative method available to
                            provide the feature. We evaluate proposed exceptions against the potential privacy or security impacts on users.


                            SMS and Call Log Permissions
                            SMS and Call Log Permissions are regarded as personal and sensitive user data subject to the Personal and
                            Sensitive Information policy, and the following restrictions:


                             Restricted Permission                                                                Requirement


                             Your app manifest requests the Call Log permission group (e.g.                       It must be actively registered as the
                             READ_CALL_LOG, WRITE_CALL_LOG, PROCESS_OUTGOING_CALLS)                               default Phone or Assistant handler on
                                                                                                                  the device.


                             Your app manifest requests the SMS permission group (e.g. READ_SMS,                  It must be actively registered as the
                             SEND_SMS, WRITE_SMS, RECEIVE_SMS, RECEIVE_WAP_PUSH,                                  default SMS or Assistant handler on the
                             RECEIVE_MMS)                                                                         device.




                            Apps lacking default SMS, Phone, or Assistant handler capability may not declare use of the above permissions in
                            the manifest. This includes placeholder text in the manifest. Additionally, apps must be actively registered as the
                            default SMS, Phone, or Assistant handler before prompting users to accept any of the above permissions and must
                            immediately stop using the permission when they’re no longer the default handler. The permitted uses and
                            exceptions are available on this Help Center page.

                            Apps may only use the permission (and any data derived from the permission) to provide approved core app
                            functionality Core functionality is deQned as the main purpose of the app. This may include a set of core features,
                            which must all be prominently documented and promoted in the app’s description. Without the core feature, the app
                            is “broken” or rendered unusable. The transfer, sharing, or licensed use of this data must only be for providing core
                            features or services within the app, and its use may not be extended for any other purpose (e.g., improving other
                            apps or services, advertising, or marketing purposes). You may not use alternative methods (including other
                            permissions, APIs, or third-party sources) to derive data attributed to Call Log or SMS related permissions.


                            Location Permissions
                            Device location is regarded as personal and sensitive user data subject to the Personal and Sensitive Information
                            policy and the following requirements:

                             • Apps may not access data protected by location permissions (e.g., ACCESS_FINE_LOCATION,
                                 ACCESS_COARSE_LOCATION, ACCESS_BACKGROUND_LOCATION) after it is no longer necessary to deliver
                                 current features or services in your app.
                             • You should never request location permissions from users for the sole purpose of advertising or analytics. Apps
                                 that extend permitted usage of this data for serving advertising must be in compliance with our Ads Policy.
                             • Apps should request the minimum scope necessary (i.e., coarse instead of Qne, and foreground instead of
                                 background) to provide the current feature or service requiring location and users should reasonably expect that
                                 the feature or service needs the level of location requested. For example, we may reject apps that request or
                                 access background location without compelling justiQcation.
                             • Background location may only be used to provide features beneQcial to the user and relevant to the core
                                 functionality of the app.

                            Apps are allowed to access location using foreground service (when the app only has foreground access e.g.: "while
                            in use") permission if the use:

                             • has been initiated as a continuation of an in-app user-initiated action, and
                             • is terminated immediately after the intended use case of the user-initiated action is completed by the application.
                            Apps designed speciQcally for children must comply with the Designed for Families policy.


                            All Files Access Permission
                            Files and directory attributes on a user’s device are regarded as personal and sensitive user data subject to the
                            Personal and Sensitive Information policy and the following requirements:

                             • Apps should only request access to device storage which is critical for the app to function, and may not request
                                 access to device storage on behalf of any third-party for any purpose that is unrelated to critical user-facing app
                                 functionality.

                             • Android devices running R (Android 11, API Level 30) or later, will require the MANAGE_EXTERNAL_STORAGE
                                 permission in order to manage access in shared storage. All apps that target R and request broad access to
                                 shared storage (“All Qles access”) must successfully pass an appropriate access review prior to publishing. Apps
                                 allowed to use this permission must clearly prompt users to enable “All Qles access” for their app under “Special
                                 app access” settings. For more information on the R requirements, please see this help article.



                            Device and Network Abuse
                            We don’t allow apps that interfere with, disrupt, damage, or access in an unauthorized manner the user’s device, other
                            devices or computers, servers, networks, application programming interfaces (APIs), or services, including but not
                            limited to other apps on the device, any Google service, or an authorized carrier’s network.

                            Apps on Google Play must comply with the default Android system optimization requirements documented in the
                            Core App Quality guidelines for Google Play.

                            An app distributed via Google Play may not modify, replace, or update itself using any method other than Google
                            Play's update mechanism. Likewise, an app may not download executable code (e.g. dex, JAR, .so Qles) from a
                            source other than Google Play. This restriction does not apply to code that runs in a virtual machine and has limited
                            access to Android APIs (such as JavaScript in a webview or browser).

                            We don’t allow code that introduces or exploits security vulnerabilities. Check out the App Security Improvement
                            Program to Qnd out about the most recent security issues Vagged to developers.

                             Here are some examples of common violations:

                             • Apps that block or interfere with another app displaying ads.

                             • Game-cheating apps that affect the gameplay of other apps.
                             • Apps that facilitate or provide instructions on how to hack services, software or hardware, or circumvent security
                                 protections.
                             • Apps that access or use a service or API in a manner that violates its terms of service.
                             • Apps that are not eligible for whitelisting and attempt to bypass system power management.
                             • Apps that facilitate proxy services to third parties may only do so in apps where that is the primary, user-facing
                                 core purpose of the app.
                             • Apps or third party code (e.g., SDKs) that download executable code, such as dex Qles or native code, from a
                                 source other than Google Play.
                             • Apps that install other apps on a device without the user's prior consent.
                             • Apps that link to or facilitate the distribution or installation of malicious software.


                            Deceptive Behavior
                            We don't allow apps that attempt to deceive users or enable dishonest behavior including but not limited to apps
                            which are determined to be functionally impossible. Apps must provide an accurate disclosure, description and
                            images/video of their functionality in all parts of the metadata. Apps must not attempt to mimic functionality or
                            warnings from the operating system or other apps. Any changes to device settings must be made with the user's
                            knowledge and consent and be reversible by the user.


                            Misleading Claims
                            We don’t allow apps that contain false or misleading information or claims, including in the description, title, icon, and
                            screenshots.

                            Here are some examples of common violations:

                             • Apps that misrepresent or do not accurately and clearly describe their functionality:
                               • An app that claims to be a racing game in its description and screenshots, but is actually a puzzle block game
                                    using a picture of a car.
                                 • An app that claims to be an antivirus app, but only contains a text guide explaining how to remove viruses.
                             • Developer or app names that misrepresent their current status or performance on Play. (E.g. “Editor’s Choice,”
                                 “Number 1 App,” “Top Paid”).
                             • Apps that feature medical or health-related content or functionalities that are misleading or potentially harmful.
                             • Apps that claim functionalities that are not possible to implement (e.g. insect repellent apps), even if it is
                                 represented as a prank, fake, joke, etc.
                             • Apps that are improperly categorized, including but not limited to the app rating or app category.
                             • Demonstrably deceptive content that may interfere with voting processes.
                             • Apps that falsely claim ailiation with a government entity or to provide or facilitate government services for which
                                 they are not properly authorized.
                             • Apps that falsely claim to be the oicial app of an established entity. Titles like “Justin Bieber Oicial” are not
                                 allowed without the necessary permissions or rights.




                            (1) This app features medical or health-related claims (Cure Cancer) that is misleading
                            (2) This apps claim functionalities that are not possible to implement (using your phone as a breathalyzer)


                            Deceptive Device Settings Changes
                            We don’t allow apps that make changes to the user’s device settings or features outside of the app without the user’s
                            knowledge and consent. Device settings and features include system and browser settings, bookmarks, shortcuts,
                            icons, widgets, and the presentation of apps on the homescreen.

                            Additionally, we do not allow:

                             •   Apps that modify device settings or features with the user’s consent but do so in a way that is not easily reversible.
                             •   Apps or ads that modify device settings or features as a service to third parties or for advertising purposes.
                             •   Apps that mislead users into removing or disabling third-party apps or modifying device settings or features.
                             •   Apps that encourage or incentivize users into removing or disabling third-party apps or modifying device settings
                                 or features unless it is part of a veriQable security service.


                            Enabling Dishonest Behavior
                            We don't allow apps that help users to mislead others or are functionally deceptive in any way, including, but not
                            limited to: apps that generate or facilitate the generation of ID cards, social security numbers, passports, diplomas,
                            credit cards and driver's licenses. Apps must provide accurate disclosures, titles, descriptions and images/video
                            regarding the app's functionality and/or content and should perform as reasonably and accurately expected by the
                            user.

                            Additional app resources (for example, game assets) may only be downloaded if they are necessary for the users'
                            use of the app. Downloaded resources must be compliant with all Google Play policies, and before beginning the
                            download, the app should prompt users and clearly disclose the download size.

                            Any claim that an app is a "prank", "for entertainment purposes" (or other synonym) does not exempt an app from
                            application of our policies.

                            Here are some examples of common violations:

                             • Apps that mimic other apps or websites to trick users into disclosing personal or authentication information.
                             • Apps that depict or display unveriQed or real world phone numbers, contacts, addresses, or personally identiQable
                                 information of non-consenting individuals or entities.
                             • Apps with different core functionality based on a user’s geography, device parameters, or other user-dependent
                                 data where those differences are not prominently advertised to the user in the store listing.
                             • Apps that change signiQcantly between versions without alerting the user (e.g., ‘what’s new’ section) and updating
                                 the store listing.
                             • Apps that attempt to modify or obfuscate behavior during review.
                             • Apps with content delivery network (CDN) facilitated downloads that fail to prompt the user and disclose the
                                 download size prior to downloading.


                            Manipulated Media
                            We don't allow apps that promote or help create false or misleading information or claims conveyed through imagery,
                            videos and/or text. We disallow apps determined to promote or perpetuate demonstrably misleading or deceptive
                            imagery, videos and/or text, which may cause harm pertaining to a sensitive event, politics, social issues, or other
                            matters of public concern.

                            Apps that manipulate or alter media, beyond conventional and editorially acceptable adjustments for clarity or
                            quality, must prominently disclose or watermark altered media when it may not be clear to the average person that
                            the media has been altered. Exceptions may be provided for public interest or obvious satire or parody.

                            Here are some examples of common violations:

                             • Apps adding a public Qgure to a demonstration during a politically sensitive event.
                             • Apps using public Qgures or media from a sensitive event to advertise media altering capability within an app's
                                 store listing.
                             • Apps that alter media clips to mimic a news broadcast.
                                                         Case 5:21-cv-00570-BLF Document 17-1 Filed 06/08/21 Page 3 of 5




(1) This app provides functionality to alter media clips to mimic a news broadcast, and add famous or public Qgures
to the clip without a watermark.



Misrepresentation
We do not allow apps or developer accounts that:

• impersonate any person or organization, or that misrepresent or conceal their ownership or primary purpose.
• that engage in coordinated activity to mislead users. This includes, but isn’t limited to, apps or developer accounts
    that misrepresent or conceal their country of origin and that direct content at users in another country.
• coordinate with other apps, sites, developers, or other accounts to conceal or misrepresent developer or app
    identity or other material details, where app content relates to politics, social issues or matters of public concern.



Malware
Malware is any code that could put a user, a user's data, or a device at risk. Malware includes, but is not limited to,
Potentially Harmful Applications (PHAs), binaries, or framework modiQcations, consisting of categories such as
trojans, phishing, and spyware apps, and we are continuously updating and adding new categories.


Malware
Our Malware policy is simple, the Android ecosystem including the Google Play Store, and user devices should be
free from malicious behaviors (i.e. malware). Through this fundamental principle we strive to provide a safe Android
ecosystem for our users and their Android devices.

Though varied in type and capabilities, malware usually has one of the following objectives:

•   Compromise the integrity of the user's device.
•   Gain control over a user's device.
•   Enable remote-controlled operations for an attacker to access, use, or otherwise exploit an infected device.
•   Transmit personal data or credentials off the device without adequate disclosure and consent.
•   Disseminate spam or commands from the infected device to affect other devices or networks.
•   Defraud the user.

An app, binary, or framework modiQcation can be Potentially Harmful, and therefore can generate malicious behavior,
even if wasn't intended to be harmful. This is because apps, binaries, or framework modiQcations can function
differently depending on a variety of variables. Therefore, what is harmful to one Android device might not pose a risk
at all to another Android device. For example, a device running the latest version of Android is not affected by
harmful apps which use deprecated APIs to perform malicious behavior but a device that is still running a very early
version of Android might be at risk. Apps, binaries, or framework modiQcations are Vagged as malware or PHA if they
clearly pose a risk to some or all Android devices and users.

The malware categories, below, reVect our foundational belief that users should understand how their device is being
leveraged and promote a secure ecosystem that enables robust innovation and a trusted user experience.

Visit Google Play Protect for more information.


Backdoors
Code that allows the execution of unwanted, potentially harmful, remote-controlled operations on a device.

These operations may include behavior that would place the app, binary, or framework modiQcation into one of the
other malware categories if executed automatically. In general, backdoor is a description of how a potentially harmful
operation can occur on a device and is therefore not completely aligned with categories like billing fraud or
commercial spyware. As a result, a subset of backdoors, under some circumstances, are treated by Google Play
Protect as a vulnerability.


Billing Fraud
Code that automatically charges the user in an intentionally deceptive way.

Mobile billing fraud is divided into SMS fraud, Call fraud, and Toll fraud.

SMS Fraud

Code that charges users to send premium SMS without consent, or tries to disguise its SMS activities by hiding
disclosure agreements or SMS messages from the mobile operator notifying the user of charges or conQrming
subscriptions.

Some code, even though they technically disclose SMS sending behavior, introduce additional behavior that
accommodates SMS fraud. Examples include hiding parts of a disclosure agreement from the user, making them
unreadable, and conditionally suppressing SMS messages from the mobile operator informing the user of charges or
conQrming a subscription.

Call Fraud

Code that charges users by making calls to premium numbers without user consent.

Toll Fraud

Code that tricks users into subscribing to or purchasing content via their mobile phone bill.

Toll Fraud includes any type of billing except premium SMS and premium calls. Examples of this include direct carrier
billing, wireless access point (WAP), and mobile airtime transfer. WAP fraud is one of the most prevalent types of Toll
fraud. WAP fraud can include tricking users to click a button on a silently loaded, transparent WebView. Upon
performing the action, a recurring subscription is initiated, and the conQrmation SMS or email is often hijacked to
prevent users from noticing the Qnancial transaction.


Stalkerware


Code that transmits personal information off the device without adequate notice or consent and doesn't display a
persistent notiQcation that this is happening.

Stalkerware apps typically transmit data to a party other than the PHA provider.

Acceptable forms of these apps can be used by parents to track their children. However, these apps cannot be used
to track a person (a spouse, for example) without their knowledge or permission unless a persistent notiQcation is
displayed while the data is being transmitted.

Only policy compliant apps exclusively designed and marketed for parental (including family) monitoring or
enterprise management may distribute on the Play Store with tracking and reporting features, provided they fully
comply with the requirements described below.

Non-stalkerware apps distributed on the Play Store which monitor or track a user's behavior on a device must
minimally comply with these requirements:

•   Apps must not present themselves as a spying or secret surveillance solution.
•   Apps must not hide or cloak tracking behavior or attempt to mislead users about such functionality.
•   Apps must present users with a persistent notiQcation and unique icon that clearly identiQes the app.
•   Apps and app listings on Google Play must not provide any means to activate or access functionality that violate
    these terms, such as linking to a non-compliant APK hosted outside Google Play.
• You are solely responsible for determining the legality of your app in its targeted locale. Apps determined to be
    unlawful in locations where they are published will be removed.




Denial of Service (DoS)
Code that, without the knowledge of the user, executes a denial-of-service (DoS) attack or is a part of a distributed
DoS attack against other systems and resources.

For example, this can happen by sending a high volume of HTTP requests to produce excessive load on remote
servers.


Hostile Downloaders
Code that isn't in itself potentially harmful, but downloads other PHAs.

Code may be a hostile downloader if:

• There is reason to believe it was created to spread PHAs and it has downloaded PHAs or contains code that could
    download and install apps; or
• At least 5% of apps downloaded by it are PHAs with a minimum threshold of 500 observed app downloads (25
    observed PHA downloads).

Major browsers and Qle-sharing apps aren't considered hostile downloaders as long as:

• They don't drive downloads without user interaction; and
• All PHA downloads are initiated by consenting users.


Non-Android Threat
Code that contains non-Android threats.

These apps can't cause harm to the Android user or device, but contain components that are potentially harmful to
other platforms.


Phishing
Code that pretends to come from a trustworthy source, requests a user's authentication credentials or billing
information, and sends the data to a third-party. This category also applies to code that intercept the transmission of
user credentials in transit.

Common targets of phishing include banking credentials, credit card numbers, and online account credentials for
social networks and games.


Elevated Privilege Abuse
Code that compromises the integrity of the system by breaking the app sandbox, gaining elevated privileges, or
changing or disabling access to core security-related functions.

Examples include:

• An app that violates the Android permissions model, or steals credentials (such as OAuth tokens) from other apps.
• Apps that abuse features to prevent them from being uninstalled or stopped.
• An app that disables SELinux.
Privilege escalation apps that root devices without user permission are classiQed as rooting apps.


Ransomware
Code that takes partial or extensive control of a device or data on a device and demands that the user make a
payment or perform an action to release control.

Some ransomware encrypts data on the device and demands payment to decrypt the data and/or leverage the device
admin features so that it can't be removed by a typical user. Examples include:

• Locking a user out of their device and demanding money to restore user control.
• Encrypting data on the device and demanding payment, ostensibly to decrypt the data.
• Leveraging device policy manager features and blocking removal by the user.
Code distributed with the device whose primary purpose is for subsidized device management may be excluded from
the ransomware category provided they successfully meet requirements for secure lock and management, and
adequate user disclosure and consent requirements.


Rooting
Code that roots the device.

There's a difference between non-malicious and malicious rooting code. For example, non-malicious rooting apps let
the user know in advance that they're going to root the device and they don't execute other potentially harmful
actions that apply to other PHA categories.

Malicious rooting apps don't inform the user that they're going to root the device, or they inform the user about the
rooting in advance but also execute other actions that apply to other PHA categories.


Spam
Code that sends unsolicited messages to the user's contacts or uses the device as an email spam relay.


Spyware
Code that transmits personal data off the device without adequate notice or consent.

For example, transmitting any of the following information without disclosures or in a manner that is unexpected to
the user is suicient to be considered spyware:

•   Contact list
•   Photos or other Qles from the SD card or that aren’t owned by the app
•   Content from user email
•   Call log
•   SMS log
•   Web history or browser bookmarks of the default browser
•   Information from the /data/ directories of other apps.

Behaviors that can be considered as spying on the user can also be Vagged as spyware. For example, recording
audio or recording calls made to the phone, or stealing app data.


Trojan
Code that appears to be benign, such as a game that claims only to be a game, but that performs undesirable actions
against the user.

This classiQcation is usually used in combination with other PHA categories. A trojan has an innocuous component
and a hidden harmful component. For example, a game that sends premium SMS messages from the user's device in
the background and without the user’s knowledge.


A Note on Uncommon Apps
New and rare apps can be classiQed as uncommon if Google Play Protect doesn't have enough information to clear
them as safe. This doesn't mean the app is necessarily harmful, but without further review it can't be cleared as safe
either.


A Note on the Backdoor Category
The backdoor malware category classiQcation relies on how the code acts. A necessary condition for any code to be
classiQed as a backdoor is that it enables behavior that would place the code into one of the other malware
categories if executed automatically. For example, if an app allows dynamic code loading and the dynamically loaded
code is extracting text messages, it will be classiQed as a backdoor malware.

However, if an app allows arbitrary code execution and we don’t have any reason to believe that this code execution
was added to perform a malicious behaviour then the app will be treated as having a vulnerability, rather than being
backdoor malware, and the developer will be asked to patch it.



Mobile Unwanted Software
This policy builds on the Google Unwanted Software Policy by outlining principles for the Android ecosystem and the
Google Play Store. Software that violates these principles is potentially harmful to the user experience, and we will
take steps to protect users from it.

 Mobile Unwanted Software
At Google, we believe that if we focus on the user, all else will follow. In our Software Principles and the Unwanted
Software Policy, we provide general recommendations for software that delivers a great user experience. This policy
builds on the Google Unwanted Software Policy by outlining principles for the Android ecosystem and the Google
Play Store. Software that violates these principles is potentially harmful to the user experience, and we will take steps
to protect users from it.

As mentioned in the Unwanted Software Policy, we’ve found that most unwanted software displays one or more of
the same basic characteristics:

•   It is deceptive, promising a value proposition that it does not meet.
•   It tries to trick users into installing it or it piggybacks on the installation of another program.
•   It doesn’t tell the user about all of its principal and signiQcant functions.
•   It affects the user’s system in unexpected ways.
•   It collects or transmits private information without users’ knowledge.
•   It collects or transmits private information without a secure handling (e.g., transmission over HTTPS)
•   It is bundled with other software and its presence is not disclosed.

On mobile devices, software is code in the form of an app, binary, framework modiQcation, etc. In order to prevent
software that is harmful to the software ecosystem or disruptive to the user experience we will take action on code
that violates these principles.

Below, we build on the Unwanted Software Policy to extend its applicability to mobile software. As with that policy,
we will continue to reQne this Mobile Unwanted Software policy to address new types of abuse.

Transparent behavior and clear disclosures

All code should deliver on promises made to the user. Apps should provide all communicated functionality. Apps
should not confuse users.

• Apps should be clear about the functionality and objectives.
• Explicitly and clearly explain to the user what system changes will be made by the app. Allow users to review and
    approve all signiQcant installation options and changes.
• Software should not misrepresent the state of the user’s device to the user, for example by claiming the system is
    in a critical security state or infected with viruses.
• Don’t utilize invalid activity designed to increase ad traic and/or conversions.
• We don’t allow apps that mislead users by impersonating someone else (e.g. another developer, company, entity)
    or another app. Don’t imply that your app is related to or authorized by someone that it isn’t.

Example violations:

• Ad fraud
• Impersonation
Protect user data

Be clear and transparent about the access, use, collection, and sharing of personal and sensitive user data. Uses of
user data in must adhere to all relevant User Data Policies, where applicable, and take all precautions to protect the
data.

• Provide users an opportunity to agree to the collection of their data before you start collecting and sending it from
    the device, including data about third-party accounts, email, phone number, installed apps, Qles, location, and any
    other personal and sensitive data that the user would not expect to be collected.
• Personal and sensitive user data collected should be handled securely, including being transmitted using modern
    cryptography (for example, over HTTPS).
• Software, including mobile apps, must only transmit personal and sensitive user data to servers as it is related to
    the functionality of the app.

Example violations:

• Data Collection (cf Spyware)
• Restricted Permissions abuse
Example User Data Policies:

• Google Play User Data Policy
• GMS Requirements User Data Policy
• Google API Service User Data Policy
Do not harm the mobile experience

The user experience should be straightforward, easy-to-understand, and based on clear choices made by the user. It
should present a clear value proposition to the user and not disrupt the advertised or desired user experience.

• Don’t show ads that are displayed to users in unexpected ways including impairing or interfering with the usability
    of device functions, or displaying outside the triggering app’s environment without being easily dismissable and
    adequate consent and attribution.
• Apps should not interfere with other apps or the usability of the device
• Uninstall, where applicable, should be clear.
• Mobile software should not mimic prompts from the device OS or other apps. Do not suppress alerts to the user
    from other apps or from the operating system, notably those which inform the user of changes to their OS.

Example violations:

• Disruptive ads
• Unauthorized Use or Imitation of System Functionality


Ad Fraud
Ad fraud is strictly prohibited. Ad interactions generated for the purpose of tricking an ad network into believing
traic is from authentic user interest is ad fraud, which is a form of invalid traic. Ad fraud may be the byproduct of
developers implementing ads in disallowed ways, such as showing hidden ads, automatically clicking ads, altering or
modifying information and otherwise leveraging non-human actions (spiders, bots, etc.) or human activity designed
to produce invalid ad traic. Invalid traic and ad fraud is harmful to advertisers, developers, and users, and leads to
long-term loss of trust in the mobile Ads ecosystem..

Here are some examples of common violations:

• An app that renders ads that are not visible to the user.
• An app that automatically generates clicks on ads without the user's intention or that produces equivalent network
    traic to fraudulently give click credits.
• An app sending fake installation attribution clicks to get paid for installations that did not originate from the
    sender’s network.
• An app that pops up ads when the user is not within the app interface.
• False representations of the ad inventory by an app, e.g. an app that communicates to ad networks that it is
    running on an iOS device when it is in fact running on an Android device; an app that misrepresents the package
    name that is being monetized.


Unauthorized Use or Imitation of System Functionality
We don’t allow apps or ads that mimic or interfere with system functionality, such as notiQcations or warnings.
System level notiQcations may only be used for an app’s integral features, such as an airline app that notiQes users of
special deals, or a game that notiQes users of in-game promotions.

Here are some examples of common violations:

• Apps or ads that are delivered through a system notiQcation or alert:




    ① The system notiQcation shown in this app is being used to serve an ad.



For additional examples involving ads, please refer to the Ads policy.



Impersonation
When developers impersonate others or their apps, it misleads users and hurts the developer community. We prohibit
apps that mislead users by impersonating someone else.


Impersonation
We don’t allow apps that mislead users by impersonating someone else (e.g. another developer, company, entity) or
another app. Don’t imply that your app is related to or authorized by someone that it isn’t. Be careful not to use app
icons, descriptions, titles, or in-app elements that could mislead users about your app’s relationship to someone else
or another app.

Here are some examples of common violations:

• Developers that falsely imply a relationship to another company / developer:




    ① The developer name listed for this app suggests an oicial relationship with Google, even though such a
    relationship doesn’t exist.
• App titles and icons that are so similar to those of existing products or services that users may be misled:




Monetization and Ads
Google Play supports a variety of monetization strategies to beneQt developers and users, including paid distribution,
in-app products, subscriptions, and ad-based models. To ensure the best user experience, we require you to comply
with these policies.



Payments
1. Developers charging for apps and downloads from Google Play must use Google Play's billing system as the
   method of payment.
2. Play-distributed apps must use Google Play's billing system as the method of payment if they require or accept
   payment for access to features or services, including any app functionality, digital content or goods.

     a. Examples of app features or services requiring use of Google Play's billing system include, but are not limited
        to, in-app purchases of:
          • Items (such as virtual currencies, extra lives, additional playtime, add-on items, characters and avatars);
          • subscription services (such as Qtness, game, dating, education, music, video, and other content
            subscription services);
          • app functionality or content (such as an ad-free version of an app or new features not available in the free
            version); and
          • cloud software and services (such as data storage services, business productivity software, and Qnancial
            management software).

     b. Google Play's billing system must not be used in cases where:
          • payment is primarily:
            Note: In some markets, we offer Google Pay for apps selling physical goods and/or services. For more
            information, please visit our Google Pay developer page.

            • for the purchase or rental of physical goods (such as groceries, clothing, housewares, electronics);
            • for the purchase of physical services (such as transportation services, cleaning services, airfare, gym
               memberships, food delivery, tickets for live events); or
            • a remittance in respect of a credit card bill or utility bill (such as cable and telecommunications services);
          • payments include peer-to-peer payments, online auctions, and tax exempt donations;
          • payment is for content or services that facilitate online gambling, as described in the Gambling Apps
            section of the Real-Money Gambling, Games, and Contests policy;
          • payment is in respect of any product category deemed unacceptable under Google’s Payments Center
            Content Policies.

3. Apps other than those described in 2(b) may not lead users to a payment method other than Google Play's billing
   system. This prohibition includes, but is not limited to, leading users to other payment methods via:

     •   An app’s listing in Google Play;
     •   In-app promotions related to purchasable content;
     •   In-app webviews, buttons, links, messaging, advertisements or other calls to action; and
     •   In-app user interface Vows, including account creation or sign-up Vows, that lead users from an app to a
         payment method other than Google Play's billing system as part of those Vows.

4. In-app virtual currencies must only be used within the app or game title for which they were purchased.

5. Developers must clearly and accurately inform users about the terms and pricing of their app or any in-app
   features or subscriptions offered for purchase. In-app pricing must match the pricing displayed in the user-facing
   Play billing interface. If your product description on Google Play refers to in-app features that may require a
   speciQc or additional charge, your app listing must clearly notify users that payment is required to access those
   features.

6. Apps and games offering mechanisms to receive randomized virtual items from a purchase including, but not
   limited to, “loot boxes” must clearly disclose the odds of receiving those items in advance of, and in close and
   timely proximity to, that purchase.



Subscriptions
You, as a developer, must not mislead users about any subscription services or content you offer within your app. It is
critical to communicate clearly in any in-app promotions or splash screens.

In your app: You must be transparent about your offer. This includes being explicit about your offer terms, the cost of
your subscription, the frequency of your billing cycle, and whether a subscription is required to use the app. Users
should not have to perform any additional action to review the information.

Here are some examples of common violations:




•   Monthly subscriptions that do not inform users they will be automatically renewed and charged every month.
•   Annual subscriptions that most prominently display their pricing in terms of monthly cost.
•   Subscription pricing and terms that are incompletely localized.
•   In-app promotions that do not clearly demonstrate that a user can access content without a subscription (when
    available).
• SKU names that do not accurately convey the nature of the subscription, such as "Free Trial" for a subscription
    with an auto-recurring charge.




① Dismiss button is not clearly visible and users may not understand that they can access functionality without
accepting the subscription offer.

② Offer only displays pricing in terms of monthly cost and users may not understand that they will be charged a six
month price at the time they subscribe.

③ Offer only shows the introductory price and users may not understand what they will automatically be charged at
the end of the introductory period.

④ Offer should be localized in the same language as the terms and conditions so that users can understand the
entire offer.




Free Trials & Introductory Offers
Before a user is enrolled in your subscription: You must clearly and accurately describe the terms of your offer,
including the duration, pricing, and description of accessible content or services. Be sure to let your users know how
and when a free trial will convert to a paid subscription, how much the paid subscription will cost, and that a user can
cancel if they do not want to convert to a paid subscription.

Here are some examples of common violations:



• Offers that do not clearly explain how long the free trial or introductory pricing will last.
• Offers that do not clearly explain that the user will be automatically enrolled in a paid subscription at the end of the
    offer period.
• Offers that do not clearly demonstrate that a user can access content without a trial (when available).
• Offer pricing and terms that are incompletely localized.




① Dismiss button is not clearly visible and users may not understand that they can access functionality without
signing up for the free trial.

② Offer emphasizes the free trial and users may not understand that they will automatically be charged at the end of
the trial.

③ Offer does not state a trial period and users may not understand how long their free access to subscription
content will last.

④ Offer should be localized in the same language as the terms and conditions so that users can understand the
entire offer.




Subscriptions Management & Cancellation
As a developer, you must ensure that your app clearly disclose how a user can manage or cancel their subscription.

It is your responsibility to notify your users of any changes to your subscription, cancellation and refund policies and
ensure that the policies comply with applicable law.



Ads
We don’t allow apps that contain deceptive or disruptive ads. Ads must only be displayed within the app serving
them. We consider ads served in your app as part of your app. The ads shown in your app must be compliant with all
our policies. For policies on gambling ads, please click here.


Use of Location Data for Ads
Apps that extend usage of permission based device location data for serving ads are subject to the Personal and
Sensitive Information policy, and must also comply with the following requirements:

• Use or collection of permission based device location data for advertising purposes must be clear to the user and
    documented in the app’s mandatory privacy policy, including linking to any relevant ad network privacy policies
    addressing location data use.
• In accordance with Location Permissions requirements, location permissions may only be requested to implement
    current features or services within your app, and may not request device location permissions solely for the use of
    ads.


Deceptive Ads
Ads must not simulate or impersonate the user interface of any app, notiQcation, or warning elements of an
operating system. It must be clear to the user which app is serving each ad.

Here are some examples of common violations:



• Ads that mimic an app's UI:




    ① The question mark icon in this app is an ad that takes the user to an external landing page.
• Ads that mimic a system notiQcation:




•




The examples above illustrate ads mimicking various system notiQcations.


Lockscreen Monetization
Unless the exclusive purpose of the app is that of a lockscreen, apps may not introduce ads or features that
monetize the locked display of a device.


Disruptive Ads
Disruptive ads are ads that are displayed to users in unexpected ways, that may result in inadvertent clicks, or
impairing or interfering with the usability of device functions.

Your app cannot force a user to click an ad or submit personal information for advertising purposes before they can
fully use an app. Interstitial ads may only be displayed inside of the app serving them. If your app displays interstitial
ads or other ads that interfere with normal use, they must be easily dismissible without penalty.

Here are some examples of common violations:

• Ads that take up the entire screen or interfere with normal use and do not provide a clear means to dismiss the ad:




    ① This ad does not have a dismiss button.
• Ads that force the user to click-through by using a false dismiss button, or by making ads suddenly appear in areas
    of the app whether the user usually taps for another function.
                                                        Case 5:21-cv-00570-BLF Document 17-1 Filed 06/08/21 Page 4 of 5




An ad that is using a false dismiss button




An ad that suddenly appears in an area where the user is used to tapping for in-app functions


Interfering with Apps, Third-party Ads, or Device Functionality
Ads associated with your app must not interfere with other apps, ads, or the operation of the device, including system
or device buttons and ports. This includes overlays, companion functionality, and widgetized ad units. Ads must only
be displayed within the app serving them.

Here are some examples of common violations:



• Ads that display outside of the app serving them:




    Description: The user navigates to the home screen from this app, and suddenly an ad appears on the
    homescreen.



• Ads that are triggered by the home button or other features explicitly designed for exiting the app:




    Description: The user attempts to exit the app and navigate to the home screen, but instead, the expected Vow is
    interrupted by an ad.




Inappropriate Ads
The ads shown within your app must be appropriate for the intended audience of your app, even if the content by
itself is otherwise compliant with our policies.

Here is an example of a common violation:




① This ad is inappropriate (Teen) for the intended audience of the app (7+)
② This ad is inappropriate (Mature) for the intended audience of the app (12+)


Usage of Android Advertising ID
Google Play Services version 4.0 introduced new APIs and an ID for use by advertising and analytics providers.
Terms for the use of this ID are below.

• Usage.The Android advertising identiQer must only be used for advertising and user analytics. The status of the
    “Opt out of Interest-based Advertising” or “Opt out of Ads Personalization” setting must be veriQed on each access
    of the ID.
• Association with personally-identiOable information or other identiOers
  • Advertising use: The advertising identiQer may not be connected to persistent device IdentiQers (for example:
      SSAID, MAC address, IMEI, etc.) for any advertising purpose. The advertising identiQer may only be connected
      to personally-identiQable information with the explicit consent of the user.
    • Analytics use: The advertising identiQer may only be connected to personally-identiQable information or
      associated with any persistent device identiQer (for example: SSAID, MAC address, IMEI, etc.) with the explicit
      consent of the user.
• Respecting users' selections. If reset, a new advertising identiQer must not be connected to a previous advertising
    identiQer or data derived from a previous advertising identiQer without the explicit consent of the user. Also, you
    must abide by a user’s “Opt out of Interest-based Advertising” or “Opt out of Ads Personalization” setting. If a user
    has enabled this setting, you may not use the advertising identiQer for creating user proQles for advertising
    purposes or for targeting users with personalized advertising. Allowed activities include contextual advertising,
    frequency capping, conversion tracking, reporting and security and fraud detection.
• Transparency to users. The collection and use of the advertising identiQer and commitment to these terms must
    be disclosed to users in a legally adequate privacy notiQcation. To learn more about our privacy standards, please
    review our User Data policy.
• Abiding by the terms of use. The advertising identiQer may only be used in accordance with these terms, including
    by any party that you may share it with in the course of your business. All apps uploaded or published to Google
    Play must use the advertising ID (when available on a device) in lieu of any other device identiQers for any
    advertising purposes.



Families Ads Program
If you serve ads in your app, and the target audience for your app only includes children as described in the Families
Policy, then you must use ad SDKs that have self-certiQed compliance with Google Play policies, including the Ad
SDK certiQcation requirements below. If the target audience for your app includes both children and older users, you
must implement age screening measures and make sure that ads shown to children come exclusively from one of
these self-certiQed ad SDKs. Apps in the Designed for Families program are required to only use self-certiQed ad
SDKs.

The use of Google Play certiQed ad SDKs is only required if you are using ad SDKs to serve ads to children. The
following are permitted without an ad SDK's self-certiQcation with Google Play, however, you are still responsible for
ensuring your ad content and data collection practices are compliant with Play's User Data Policy and Families
Policy:

• In-House Advertising whereby you use SDKs to manage cross promotion of your apps or other owned media and
    merchandising
• Entering into direct deals with advertisers whereby you use SDKs for inventory management
Ad SDK CertiOcation Requirements

• DeQne what are objectionable ad content and behaviors and prohibit them in the ad SDK's terms or policies. The
    deQnitions should comply with Play’s Developer Program Policies.
• Create a method to rate your ad creatives according to age appropriate groups. Age appropriate groups must at
    least include groups for Everyone and Mature. The rating methodology must align with the methodology that
    Google supplies to SDKs once they have Qlled out the interest form below.
• Allow publishers, on a per-request or per-app basis, to request child-directed treatment for ad serving. Such
    treatment must be in compliance with applicable laws and regulations, such as the US Children's Online Privacy
    and Protection Act (COPPA) and the EU General Data Protection Regulation (GDPR). Google Play requires ad SDKs
    to disable personalized ads, interest based advertising, and remarketing as part of the child-directed treatment.
• Allow publishers to select ad formats that are compliant with Play’s Families Ads and Monetization policy, and
    meet the requirement of the Teacher Approved program.
• Ensure that when real-time bidding is used to serve ads to children, the creatives have been reviewed and privacy
    indicators are propagated to the bidders.
• Provide Google with suicient information, such as information indicated in the interest form below, to verify the
    ad SDK's compliance with all certiQcation requirements, and respond in a timely manner to any subsequent
    requests for information.

Note: Ad SDKs must support ad serving that complies with all relevant statutes and regulations concerning children
that may apply to their publishers.

Mediation requirements for serving platforms when serving ads to children:

• Only use Play certiQed ad SDKs or implement safeguards necessary to ensure that all ads served from mediation
    comply with these requirements; and
• Pass information necessary to mediation platforms to indicate the ad content rating and any applicable child-
    directed treatment.

Developers can Qnd a list of self-certiQed ad SDKs here.

Also, developers can share this interest form with ad SDKs who wish to become self-certiQed.



Store Listing and Promotion
The promotion and visibility of your app dramatically affects store quality. Avoid spammy store listings, low quality
promotion, and efforts to artiQcially boost app visibility on Google Play.



App Promotion
We don’t allow apps that directly or indirectly engage in or beneQt from promotion practices that are deceptive or
harmful to users or the developer ecosystem. This includes apps that engage in the following behavior:

• Using deceptive ads on websites, apps, or other properties, including notiQcations that are similar to system
    notiQcations and alerts.
• Promotion or installation tactics that redirect users to Google Play or download apps without informed user
    action.
• Unsolicited promotion via SMS services.
It is your responsibility to ensure that any ad networks or ailiates associated with your app comply with these
policies and do not employ any prohibited promotion practices.



Metadata
We don't allow apps with misleading, improperly formatted, non-descriptive, irrelevant, excessive, or inappropriate
metadata, including but not limited to the app's description, developer name, title, icon, screenshots, and promotional
images. Developers must provide a clear and well-written description of their app. We also don't allow unattributed or
anonymous user testimonials in the app's description.

In addition to the requirements noted here, speciQc Play Developer Policies may require you to provide additional
metadata information.

Here are some examples of common violations:




① Unattributed or Anonymous User testimonials
② Data comparison of apps or brands
③ Word blocks and vertical/horizontal word lists

Here are some examples of inappropriate text, images, or videos within your listing:

• Imagery or videos with sexually suggestive content. Avoid suggestive imagery containing breasts, buttocks,
    genitalia, or other fetishized anatomy or content, whether illustrated or real.
• Using profane, vulgar, or other language that is inappropriate for a general audience in your app’s Store listing.
• Graphic violence prominently depicted in app icons, promotional images, or videos.
• Depictions of the illicit usage of drugs. Even EDSA (Educational, Documentary, ScientiQc, or Artistic) content must
    be suitable for all audiences within the store listing.

Here are a few best practices:

• Highlight what's great about your app. Share interesting and exciting facts about your app to help users
    understand what makes your app special.
• Make sure that your app’s title and description accurately describe your app’s functionality.
• Avoid using repetitive or unrelated keywords or references.
• Keep your app’s description succinct and straightforward. Shorter descriptions tend to result in a better user
    experience, especially on devices with smaller displays. Excessive length, detail, improper formatting, or repetition
    can result in a violation of this policy.
• Remember that your listing should be suitable for a general audience. Avoid using inappropriate text, images or
    videos in your listing and adhere to the guidelines above.



User Ratings, Reviews, and Installs
Developers must not attempt to manipulate the placement of any apps in Google Play. This includes, but is not
limited to, inVating product ratings, reviews, or install counts by illegitimate means, such as fraudulent or incentivized
installs, reviews and ratings.

Here are some examples of common violations:



• Asking users to rate your app while offering an incentive:




      ① This notiQcation offers users a discount in exchange for a high rating.



• Repeatedly submitting ratings to inVuence the app’s placement on Google Play.
• Submitting or encouraging users to submit reviews containing inappropriate content, including ailiates, coupons,
    game codes, email addresses, or links to websites or other apps:




      ② This review encourages users to promote the RescueRover app by making a coupon offer.

Ratings and reviews are benchmarks of app quality. Users depend on them to be authentic and relevant. Here are
some best practices when responding to user reviews:

• Keep your reply focused on the issues raised in the user's comments and don’t ask for a higher rating.
• Include references to helpful resources such as a support address or FAQ page.




Content Ratings
Content ratings on Google Play are provided by the International Age Rating Coalition (IARC) and are designed to help
developers communicate locally relevant content ratings to users. Regional IARC authorities maintain guidelines
which are used to determine the maturity level of the content in an app. We don’t allow apps without a content rating
on Google Play.


How content ratings are used
Content ratings are used to inform consumers, especially parents, of potentially objectionable content that exists
within an app. They also help Qlter or block your content in certain territories or to speciQc users where required by
law, and determine your app’s eligibility for special developer programs.


How content ratings are assigned
To receive a content rating, you must Qll out a rating questionnaire on the Play Console that asks about the nature of
your apps’ content. Your app will be assigned a content rating from multiple rating authorities based on your
questionnaire responses. Misrepresentation of your app’s content may result in removal or suspension, so it is
important to provide accurate responses to the content rating questionnaire.

To prevent your app from being listed as “Unrated”, you must complete the content rating questionnaire for each new
app submitted to the Play Console, as well as for all existing apps that are active on Google Play.

If you make changes to your app content or features that affect the responses to the rating questionnaire, you must
submit a new content rating questionnaire in the Play Console.

Visit the Help Center to Qnd more information on the different rating authorities and how to complete the content
rating questionnaire.


Rating appeals
If you do not agree with the rating assigned to your app, you can appeal directly to the IARC rating authority using the
link provided in your certiQcate email.



News
An app that declares itself as a "News" app on Google Play must meet all of the following requirements.

News apps that require a user to purchase a membership must provide a content preview for users prior to
purchase.

News apps MUST:

• provide ownership information about the news publisher and its contributors including, but not limited to, the
    oicial website for the news published in your app, valid and veriQable contact information, and the original
    publisher of each article, and
• have a website or in-app page that provides valid contact information for the news publisher.
News apps MUST NOT:

• contain signiQcant spelling & or grammatical errors,
• contain only static content (e.g., content that is several months old), and
• have ailiate marketing or ad revenue as its primary purpose.
News apps that aggregate content from different publishing sources must be transparent about the publishing
source of the content in the app and each of the sources must meet News policy requirements.



Spam and Minimum Functionality
At a minimum, apps should provide users with a basic degree of functionality and a respectful user experience. Apps
that crash, exhibit other behavior that is not consistent with a functional user experience, or that serve only to spam
users or Google Play are not apps that expand the catalog in a meaningful way.



Spam
We don't allow apps that spam users or Google Play, such as apps that send users unsolicited messages or apps
that are repetitive or low-quality.


Message Spam
We don’t allow apps that send SMS, email, or other messages on behalf of the user without giving the user the ability
to conQrm the content and intended recipients.


Webviews and Affiliate Spam
We don’t allow apps whose primary purpose is to drive ailiate traic to a website or provide a webview of a website
without permission from the website owner or administrator.

Here are some examples of common violations:

• An app whose primary purpose is to drive referral traic to a website to receive credit for user sign-ups or
    purchases on that website.
• Apps whose primary purpose is to provide a webview of a website without permission:




    This app is called “Ted’s Shopping Deals” and it simply provides a webview of Google Shopping.




Repetitive Content
We don't allow apps that merely provide the same experience as other apps already on Google Play. Apps should
provide value to users through the creation of unique content or services.

Here are some examples of common violations:

• Copying content from other apps without adding any original content or value.
• Creating multiple apps with highly similar functionality, content, and user experience. If these apps are each small
    in content volume, developers should consider creating a single app that aggregates all the content.




Made for Ads
We do not allow apps whose primary purpose is to serve ads.

Here are some examples of common violations:

• Apps where interstitial ads are placed after every user action, including but not limited to clicks, swipes, etc.


Minimum Functionality
Ensure your app provides a stable, engaging, responsive user experience.

Here are some examples of common violations:

• Apps that are designed to do nothing or have no function


Broken Functionality
We don’t allow apps that crash, force close, freeze, or otherwise function abnormally.

Here are some examples of common violations:

• Apps that don’t install
• Apps that install, but don’t load
• Apps that load, but are not responsive


Other Programs
In addition to compliance with the content policies set out elsewhere in this Policy Center, apps that are designed for
other Android experiences and distributed via Google Play may also be subject to program-speciQc policy
requirements. Be sure to review the list below to determine if any of these policies apply to your app.



Android Instant Apps
Our goal with Android Instant Apps is to create delightful, frictionless user experiences while also adhering to the
highest standards of privacy and security. Our policies are designed to support that goal.

Developers choosing to distribute Android Instant Apps through Google Play must adhere to the following policies, in
addition to all other Google Play Developer Program Policies.


Identity
For instant apps that include login functionality, developers must integrate Smart Lock for Passwords.


Link Support
Android Instant Apps developers are required to properly support links for other apps. If the developer’s instant app
or installed app contains links that have the potential to resolve to an instant app, the developer must send users to
that instant app, rather than, for example, capturing the links in a WebView.


Technical Specifications
Developers must comply with the Android Instant Apps technical speciQcations and requirements provided by
Google, as may be amended from time to time, including those listed in our public documentation.


Offering App Installation
The instant app may offer the user the installable app, but this must not be the instant app's primary purpose. When
offering installation, developers must:

• Use the Material Design "get app" icon and the label "install" for the installation button.
• Not have more than 2-3 implicit installation prompts in their instant app.
• Not use a banner or other ad-like technique for presenting an installation prompt to users.
Additional instant app details and UX guidelines can be found in the Best Practices for User Experience.


Changing Device State
Instant apps must not make changes to the user’s device that persist longer than the instant app session. For
example, instant apps may not change the user’s wallpaper or create a homescreen widget.


App Visibility
Developers must ensure that instant apps are visible to the user, such that the user is aware at all times that the
instant app is running on their device.


Device Identifiers
Instant apps are prohibited from accessing device identiQers that both (1) persist after the instant app stops running
and (2) are not resettable by the user. Examples include, but are not limited to:

• Build Serial
• Mac Addresses of any networking chips
• IMEI, IMSI
Instant apps may access phone number if obtained using the runtime permission. The developer must not attempt to
Qngerprint the user using these identiQers or any other means.


Network traffic
Network traic from inside the instant app must be encrypted using a TLS protocol like HTTPS.



Families
Google Play offers a rich platform for developers to showcase their high-quality, age appropriate content for the
whole family. Before submitting an app to the Designed for Families program or submitting an app that targets
children to the Google Play Store, you are responsible for ensuring your app is appropriate for children and compliant
with all relevant laws.

Learn about the families process and review the interactive checklist at Academy for App Success.



Designing Apps for Children and Families
The use of technology as a tool for enriching families' lives continues to grow, and parents are looking for safe, high-
quality content to share with their children. You may be designing your apps speciQcally for children or your app may
just attract their attention. Google Play wants to help you make sure your app is safe for all users, including families.

The word "children" can mean different things in different locales and in different contexts. It is important that you
consult with your legal counsel to help determine what obligations and/or age-based restrictions may apply to your
app. You know best how your app works so we are relying on you to help us make sure apps on Google Play are safe
for families.

Apps designed speciQcally for children must participate in the Designed for Families program. If your app targets
both children and older audiences, you may still participate in the Designed for Families program. All apps that opt in
to the Designed for Families program will be eligible to be rated for the Teacher Approved program, but we cannot
guarantee that your app will be included in the Teacher Approved program. If you decide not to participate in the
Designed for Families program, you still must comply with the Google Play Families Policy requirements below, as
well as all other Google Play Developer Program Policies and the Developer Distribution Agreement.


Play Console Requirements
Target Audience and Content

In the Target Audience and Content section of the Google Play Console you must indicate the target audience for
your app, prior to publishing, by selecting from the list of age groups provided. Regardless of what you identify in the
Google Play Console, if you choose to include imagery and terminology in your app that could be considered
targeting children, this may impact Google Play's assessment of your declared target audience. Google Play reserves
the right to conduct its own review of the app information that you provide to determine whether the target audience
that you disclose is accurate.

If you select a target audience that only includes adults, but Google determines that this is inaccurate because your
app is targeting both children and adults, you will have the option to make clear to users that your app is not targeting
children by agreeing to carry a warning label.

You should only select more than one age group for your app's target audience if you have designed your app for and
ensured that your app is appropriate for users within the selected age group. For example, apps designed for babies,
toddlers, and preschool children should only have the age group "Ages 5 & Under" selected as the age group target
for those apps. If your app is designed for a speciQc level of school, choose the age group that best represents that
school level. You should only select age groups that include both adults and children if you truly have designed your
app for all ages.

Updates to Target Audience and Content Section

You can always update your app's information in the Target Audience and Content section in the Google Play
Console. An app update is required before this information will be reVected on the Google Play store. However, any
changes you make in this section of the Google Play Console may be reviewed for policy compliance even before an
app update is submitted.

We strongly recommend that you let your existing users know if you change the target age group for your app or start
using ads or in-app purchases, either by using the "What's New" section of your app's store listing page or through in-
app notiQcations.

Misrepresentation in Play Console

Misrepresentation of any information about your app in the Play Console, including in the Target Audience and
Content section, may result in removal or suspension of your app, so it is important to provide accurate information.


Families Policy Requirements
If one of the target audiences for your app is children, you must comply with the following requirements. Failure to
satisfy these requirements may result in app removal or suspension.

1. App content: Your app's content that is accessible to children must be appropriate for children.
2. Google Play Console Answers: You must accurately answer the questions in the Google Play Console regarding
   your app and update those answers to accurately reVect any changes to your app.
3. Ads: If your app displays ads to children or to users of unknown age, you must:
     • only use Google Play certiQed ad SDKs to display ads to those users;
     • ensure ads displayed to those users do not involve interest-based advertising (advertising targeted at
       individual users who have certain characteristics based on their online browsing behavior) or remarketing
       (advertising targeted at individual users based on previous interaction with an app or website);
     • ensure ads displayed to those users present content that is appropriate for children;
     • ensure ads displayed to those users follow the Families ad format requirements; and
     • ensure compliance with all applicable legal regulations and industry standards relating to advertising to
       children.

4. Data Collection: You must disclose the collection of any personal and sensitive Information from children in your
   app, including through APIs and SDKs called or used in your app. Sensitive information from children includes, but
   is not limited to, authentication information, microphone and camera sensor data, device data, Android ID, ad
   usage data, and advertising ID.
5. APIs and SDKs: You must ensure that your app properly implements any APIs and SDKs.
     • Apps that solely target children must not contain any APIs or SDKs that are not approved for use in child-
       directed services. This includes, Google Sign-In (or any other Google API Service that accesses data
       associated with a Google Account), Google Play Games Services, and any other API Service using OAuth
       technology for authentication and authorization.
     • Apps that target both children and older audiences must not implement APIs or SDKs that are not approved for
       use in child-directed services unless they are used behind a neutral age screen or implemented in a way that
       does not result in the collection of data from children (e.g., providing Google Sign-in as an optional feature).
       Apps that target both children and older audiences must not require users to sign-in or access app content
       through an API or SDK that is not approved for use in child-directed services.

6. Privacy policy: You must provide a link to your app's privacy policy on your app's store listing page. This link must
   be maintained at all times while the app is available on the Store, and it must link to a privacy policy that, among
   other things, accurately describes your app's data collection and use.
7. Special restrictions:
     • If your app uses Augmented Reality, you must include a safety warning immediately upon launch of the AR
       section. The warning should contain the following:
       • An appropriate message about the importance of parental supervision.
       • A reminder to be aware of physical hazards in the real world (e.g., be aware of your surroundings).
     • Your app must not require the usage of a device that is advised not to be used by children. (e.g. Daydream,
       Oculus)

8. Legal Compliance: You must ensure that your app, including any APIs or SDKs that your app calls or uses, is
   compliant with the U.S. Children's Online Privacy and Protection Act (COPPA), E.U. General Data Protection
   Regulation (GDPR), and any other applicable laws or regulations.

Here are some examples of common violations:

•   Apps that promote play for children in their store-listing but the app content is only appropriate for adults.
•   Apps that implement APIs with terms of service that prohibit their use in child-directed apps.
•   Apps that glamorize the use of alcohol, tobacco or controlled substances.
•   Apps that include real or simulated gambling.
•   Apps that include violence, gore, or shocking content not appropriate for children.
•   Apps that provide dating services or offer sexual or marital advice.
•   Apps that contain links to websites that present content that violates Google Play’s Developer Program policies.
•   Apps that show mature ads (e.g. violent content, sexual content, gambling content) to children. Please see the
    Families Ads and Monetization policies for more information on Google Play’s policies on advertising, in-app
    purchase, and commercial content for children.


Designed for Families Program
Apps designed speciQcally for children must participate in the Designed for Families program. If your app is designed
for everyone, including children and families, you too can apply to participate in the program.

Before being accepted into the program your app must meet all of the Families Policy requirements and Designed for
Families eligibility requirements, in addition to those outlined in the Google Play Developer Program Policies and
Developer Distribution Agreement.

For more information on the process for submitting your app for inclusion in the program, click here.

Program Eligibility

All apps participating in the Designed for Families program must have both app and ad content that are relevant and
appropriate for children and must satisfy all of the requirements below. Apps accepted into the Designed for Families
program must remain compliant with all program requirements. Google Play may reject, remove, or suspend any app
determined to be inappropriate for the Designed for Families program.

Designed for Families Requirements

1. Apps must be rated ESRB Everyone or Everyone 10+, or equivalent.
2. You must accurately disclose the app's interactive elements on the Content Rating Questionnaire in the Google
   Play Console, including whether:
     • users can interact or exchange information;
     • your app shares user-provided personal information with third parties; and
     • your app shares the user's physical location with other users.
3. If your app uses the Android Speech API, your app's RecognizerIntent.EXTRA_CALLING_PACKAGE must be set to
   its PackageName.
4. Apps must only use Google Play certiQed ad SDKs.
5. Apps designed speciQcally for children cannot request location permissions.
6. Apps must use the Companion Device Manager(CDM) when requesting Bluetooth, unless your app is only
   targeting device Operating System(OS) versions that are not compatible with CDM.


Here are some examples of common apps that are ineligible for the program:
•   Apps that are rated ESRB Everyone but contain ads for gambling content
•   Apps for parents or care-givers (e.g., breastfeeding tracker, developmental guide)
•   Parent guides or device management apps that are only intended for use by parents or care-givers
•   Apps that use an app icon or a launcher icon that is inappropriate for children

Categories

If you are accepted to participate in the Designed for Families program, you can choose a second Families-speciQc
category that describes your app. Here are the categories available for apps participating in the Designed for
Families program:

Action & Adventure: Action-oriented apps/games, including everything from simplistic racing games to fairy tale
adventures, to other apps and games that are designed to generate excitement.

Brain Games: Games that make the user think, including puzzles, matching games, quizzes, and other games that
challenge the memory, intelligence or logic.

Creativity: Apps and games that encourage creativity, including drawing apps, painting apps, coding apps, and other
apps and games where you can build and make things.

Education: Apps and games designed with input from learning experts (e.g., educators, learning specialists,
researchers) to promote learning, including academic, social-emotional, physical, and creative learning, as well as
learning related to basic life skills, critical thinking, and problem solving.

Music and Video: Apps and games with a musical or video component, including everything from instrument
simulation apps to apps that provide video and musical audio content.

Pretend Play: Apps and games where the user can pretend to take on a role, for example, pretending to be a chef,
care-giver, prince/princess, QreQghter, police person or Qctional character.



Ads and Monetization
The policies below apply to all advertising in your app, including ads for your apps and third party apps, offers for in-
app purchase, or any other commercial content (such as paid product placement) that is served to users of apps that
are subject to the Families Policy Requirements and/or the Designed for Families Requirements. All advertising,
offers for in-app purchase, and commercial content in these apps must comply with all applicable laws and
regulations (including any relevant self-regulatory or industry guidelines).

Google Play reserves the right to reject, remove or suspend apps for overly aggressive commercial tactics.

Ad format requirements

Ads and offers for in-app purchases must not have deceptive content or be designed in a way that will result in
inadvertent clicks from child users. The following are prohibited:

• Disruptive ads, including ads that take up the entire screen or interfere with normal use and do not provide a clear
    means to dismiss the ad (e.g. Ad walls)
• Ads that interfere with normal app use or game play that are not closeable after 5 seconds. Ads that do not
    interfere with normal app use or game play may persist for more than 5 seconds (e.g. video content with
    integrated ads).
• Interstitial ads or offers for in-app purchase displayed immediately upon app launch
• Multiple ad placements on a page (e.g. banner ads that show multiple offers in one placement or displaying more
    than one banner or video ad is not allowed).
• Ads or offers for in-app purchases that are not clearly distinguishable from your app content
• Use of shocking or emotionally manipulative tactics to encourage ads viewing or in-app purchases
• Not providing a distinction between the use of virtual game coins versus real-life money to make in-app purchases
Here are some examples of common ad format violations



• Ads that move away from a user's Qnger as the user tries to close it
• Ads that take up the majority or the device screen without providing the user a clear way to dismiss it, as depicted
    in the example below:
                                                                                Case 5:21-cv-00570-BLF Document 17-1 Filed 06/08/21 Page 5 of 5




                    • Banner ads showing multiple offers, as depicted in the example below:




                    • Ads that could be mistaken by a user for app content, as depicted in the example below:




                    • Buttons or ads that promote your other Google Play store listings but that are indistinguishable from app content,
                        as depicted in the example below:




                    Here are some examples of inappropriate ad content that should not be displayed to children.

                    • Inappropriate Media Content: Ads for TV shows, movies, music albums, or any other media outlet that are not
                        appropriate for children.
                    • Inappropriate Video Games & Downloadable Software: Ads for downloadable software and electronic video
                        games that are not appropriate for children.
                    • Controlled or Harmful Substances: Ads for alcohol, tobacco, controlled substances, or any other harmful
                        substances.
                    •   Gambling: Ads for simulated gambling, contests or sweepstakes promotions, even if free to enter.
                    •   Adult and Sexually Suggestive Content: Ads with sexual, sexually suggestive and mature content.
                    •   Dating or Relationships: Ads for dating or adult relationship sites.
                    •   Violent Content: Ads with violent and graphic content that is not appropriate for children.



                    Ad SDKs

                    If you serve ads in your app and your target audience only includes children, then you must use Google Play certiQed
                    ad SDKs. If the target audience for your app includes both children and older users, you must implement age
                    screening measures, such as a neutral age screen, and make sure that ads shown to children come exclusively from
                    Google Play certiQed ad SDKs. Apps in the Designed for Families program are required to only use self-certiQed ad
                    SDKs.

                    Please refer to the Families Ads Program policy page for more details on these requirements and to see the current
                    list of approved ad SDKs.

                    If you use AdMob, refer to the AdMob Help Center for more details on their products.

                    It is your responsibility to ensure your app satisQes all requirements concerning advertisements, in-app purchases,
                    and commercial content. Contact your ad SDK provider to learn more about their content policies and advertising
                    practices.

                    In-app purchases

                    Google Play will re-authenticate all users prior to any in-app purchases in apps participating in the Designed for
                    Families program. This measure is to help ensure that the Qnancially responsible party, and not children, are
                    approving purchases.



                    Enforcement
                    Avoiding a policy violation is always better than managing one, but when violations do occur, we’re committed to
                    ensuring developers understand how they can bring their app into compliance. Please let us know if you see any
                    violations or have any questions about managing a violation.



                    Policy Coverage
                    Our policies apply to any content your app displays or links to, including any ads it shows to users and any user-
                    generated content it hosts or links to. Further, they apply to any content from your developer account which is
                    publicly displayed in Google Play, including your developer name and the landing page of your listed developer
                    website.

                    We don't allow apps that let users install other apps to their devices. Apps that provide access to other apps, games,
                    or software without installation, including features and experiences provided by third parties, must ensure that all the
                    content they provide access to adheres to all Google Play policies and may also be subject to additional policy
                    reviews.

                    DeQned terms used in these policies have the same meaning as in the Developer Distribution Agreement (DDA). In
                    addition to complying with these policies and the DDA, the content of your app must be rated in accordance with
                    our Content Rating Guidelines.

                    We don’t allow apps or app content that undermine user trust in the Google Play ecosystem. In assessing whether to
                    include or remove apps from Google Play, we consider a number of factors including, but not limited to, a pattern of
                    harmful behavior or high risk of abuse. We identify risk of abuse including, but not limited to, items such as app- and
                    developer-speciQc complaints, news reporting, previous violation history, user feedback, and use of popular brands,
                    characters, and other assets.


                    How Google Play Protect works
                    Google Play Protect checks apps when you install them. It also periodically scans your device. If it Qnds a potentially
                    harmful app, it might:

                    • Send you a notiQcation. To remove the app, tap the notiQcation, then tap Uninstall.
                    • Disable the app until you uninstall it.
                    • Remove the app automatically. In most cases, if a harmful app has been detected, you will get a notiQcation saying
                        that the app was removed.


                    How malware protection works
                    To protect you against malicious third-party software, URLs and other security issues, Google may receive
                    information about:

                    • Your device's network connections
                    • Potentially harmful URLs
                    • Operating system, and apps installed on your device through Google Play or other sources.
                    You may get a warning from Google about an app or URL that may be unsafe. The app or URL may be removed or
                    blocked from installation by Google if it is known to be harmful to devices, data or users.

                    You can choose to disable some of these protections in your device settings. But Google may continue to receive
                    information about apps installed through Google Play, and apps installed on your device from other sources may
                    continue to be checked for security issues without sending information to Google.


                    How Privacy alerts work
                    Google Play Protect will alert you if an app is removed from the Google Play Store because the app may access your
                    personal information and you’ll have an option to uninstall the app.



                    Enforcement Process
                    If your app violates any of our policies, we’ll take appropriate action as outlined below. In addition, we’ll provide you
                    with relevant information about the action we’ve taken via email along with instructions on how to appeal if you
                    believe we’ve taken action in error.

                    Please note that removal or administrative notices may not indicate each and every policy violation present in your
                    app or broader app catalog. Developers are responsible for addressing any policy issue and conducting extra due
                    diligence to ensure that the remainder of their app is fully policy compliant. Failure to address policy violations in all
                    of your apps may result in additional enforcement actions.

                    Repeated or serious violations (such as malware, fraud, and apps that may cause user or device harm) of these
                    policies or the Developer Distribution Agreement (DDA) will result in termination of individual or related Google Play
                    Developer accounts.



                    Enforcement Actions
                    Different enforcement actions can impact your app in different ways. The following section describes the various
                    actions Google Play may take, and the impact to your app and / or your Google Play Developer account. This
                    information is also explained in this video.


                    Rejection
                    • A new app or app update submitted for review will not be made available on Google Play.
                    • If an update to an existing app was rejected, the app version published prior to the update will remain available on
                        Google Play.
                    • Rejections don’t impact your access to a rejected app’s existing user installs, statistics, and ratings.
                    • Rejections don’t impact the standing of your Google Play Developer account.
                    Note: Do not attempt to resubmit a rejected app until you’ve Qxed all the policy violations.


                    Removal
                    • The app, along with any previous versions of that app, are removed from Google Play and will no longer be
                        available for users to download.
                    • Because the app is removed, users will not be able to see the app’s Store listing, user installs, statistics, and
                        ratings. This information will be restored once you submit a policy-compliant update for the removed app.
                    • Users may not be able to make any in-app purchases, or utilize any in-app billing features in the app until a policy-
                        compliant version is approved by Google Play.
                    • Removals don’t immediately impact the standing of your Google Play Developer account, but multiple removals
                        may result in a suspension.

                    Note: Don't attempt to republish a removed app until you’ve Qxed all policy violation.


                    Suspension
                    • The app, along with any previous versions of that app, are removed from Google Play and will no longer be
                        available for users to download.
                    • Suspension can occur as the result of egregious or multiple policy violations, as well as repeated app rejections or
                        removals.
                    • Because the app is suspended, users will not be able to see the app’s Store listing, existing user installs, statistics,
                        and ratings. This information will be restored once you submit a policy-compliant update for the removed app.
                    • You can no longer use a suspended app’s APK or app bundle.
                    • Users will not be able to make any in-app purchases, or utilize any in-app billing features in the app until a policy-
                        compliant version is approved by Google Play.
                    • Suspensions count as strikes against the good standing of your Google Play Developer account. Multiple strikes
                        can result in the termination of individual and related Google Play Developer accounts.

                    Note: Don't attempt to republish a suspended app unless Google Play has explained that you may do so.


                    Limited Visibility
                    • Your app’s discoverability on Google Play is restricted. Your app will remain available on Google Play and can be
                        accessed by users with a direct link to the app’s Play store listing.
                    • Having your app placed in a Limited Visibility state doesn’t impact the standing of your Google Play Developer
                        account.
                    • Having your app placed in a Limited Visibility state doesn’t impact users’ ability to see the app’s existing Store
                        listing, user installs, statistics, and ratings.


                    Account Termination
                    • When your developer account is terminated, all apps in your catalog will be removed from Google Play and you will
                        no longer be able to publish new apps. This also means that any related Google Play developer accounts will also
                        be permanently suspended.
                    • Multiple suspensions or suspensions for egregious policy violations may also result in the termination of your Play
                        Console account.
                    • Because the apps within the terminated account are removed, users will not be able to see the apps’ Store listing,
                        existing user installs, statistics, and ratings.

                    Note: Any new account that you try to open will be terminated as well (without a refund of the developer registration
                    fee), so please do not attempt to register for a new Play Console account while one of your other accounts are
                    terminated.



                    Managing and Reporting Policy Violations

                                    How to handle a policy violation …




                    Appealing an Enforcement Action
                    We will reinstate applications if an error was made, and we Qnd that your application does not violate the Google Play
                    Program Policies and Developer Distribution Agreement. If you’ve reviewed the policies carefully and feel that our
                    decision may have been in error, please follow the instructions provided to you in the enforcement email notiQcation
                    to appeal our decision.


                    Additional Resources
                    If you need more information regarding an enforcement action or a rating/comment from a user, you may refer to
                    some of the resources below or contact us through the Google Play Help Center. We cannot, however, offer you legal
                    advice. If you need legal advice, please consult your legal counsel.

                    •   App veriQcation & appeals
                    •   Report a policy violation
                    •   Contact Google Play about an account termination or app removal
                    •   Fair warnings
                    •   Report inappropriate apps & comments
                    •   My app has been removed from Google Play
                    •   Understanding Google Play developer account terminations




                            Give feedback about this article




                    Was this helpful?                  Yes                 No




                                                                     Need more help?
                                                                           Try these next steps:



                                                                  Contact us
                                                                  Tell us more and we’ll help you get there




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